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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:06-CR-00059-AWI-11

12                                Plaintiff,            STIPULATION AND ORDER TO REDUCE
                                                        SENTENCING PURSUANT TO TITLE 18 U.S.C.
13                          v.                          § 3582(c)(2)

14   WAYNE BRIZAN,                                      COURT: Hon. Anthony W. Ishii

15                                Defendant.

16

17         Defendant, WAYNE BRIZAN, by and through his attorney, Richard B. Mazer, and the UNITED

18 STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney Kathleen A. Servatius,

19 hereby stipulate as follows:

20         1.       Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of imprisonment in

21 the case of a defendant who has been sentenced to a term of imprisonment based on a sentencing range

22 that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o);

23         2.       On May 8, 2007, this Court sentenced the defendant to a term of 129 months in in prison.

24 This term reflected a downward variance from the applicable sentencing range. ;

25         3.       The defendant’s total offense level as to Count 1 was 33, his criminal history category

26 was I, and the resulting guideline range was 135 to 168 months;
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 1          4.       The sentencing range as to Count 1 applicable to the defendant was subsequently lowered

 2 by the United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014, see

 3 79 Fed. Reg. 44,973, with an effective date of any such reduction as of November 1, 2015;

 4          5.       The defendant’s total offense level as to Count 1 has been reduced from 33 to 31, and his

 5 amended guideline range is 120 to 135 months on Count 1; and,

 6          6.       Accordingly, the parties request the Court enter the order lodged herewith reducing the

 7 defendant’s term of imprisonment to a term of 120 months on Count One.

 8 Dated: January 28, 2015                                   BENJAMIN B. WAGNER
                                                             United States Attorney
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10                                                   By: /s/ KATHLEEN A. SERVATIUS
                                                         KATHLEEN A. SERVATIUS
11                                                       Assistant United States Attorney
12
     Dated: January 28, 2015
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                                                     By: /s/ RICHARD B. MAZER
14                                                       RICHARD B. MAZER
                                                         Attorney for Defendant Wayne Brizan
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17                                                   ORDER
18                   This matter came before the Court on the stipulated motion of the defendant for reduction
19 of sentence pursuant to 18 U.S.C. § 3582(c)(2). The parties agree, and the Court finds, that the

20 defendant is entitled to the benefit Amendment 782, which reduces the total offense level for Count 1

21 from 33 to 31, resulting in an amended guideline range of 120 months to 135 months for that Count in

22 light of the 120 month mandatory minimum sentence.

23                   IT IS HEREBY ORDERED that the term of imprisonment imposed on May 8, 2007, and
24 reflected in judgment dated May 9, 2007, is reduced to a term of 120 months on Count One, effective as

25 of November 1, 2015.

26                   IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27 remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above reduction

28 in sentence, an effective date of the amended judgment as November 1, 2015, and shall serve certified


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 1 copies of the amended judgment on the United States Bureau of Prisons and the United States Probation
 2 Office.

 3                 Unless otherwise ordered, the defendant shall report to the United States Probation Office

 4 within seventy-two hours after his release.

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     IT IS SO ORDERED.
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 7 Dated: January 28, 2015
                                                 SENIOR DISTRICT JUDGE
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      STIPULATION AND ORDER TO REDUCE SENTENCE          3
